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                                XJNITED    STATES         DISTRICT      COURT
                         FOR THE     EASTERN DISTRICT OF VIRGINIA                                        ED
                                          Norfolk Division

                                                                                                 FEB -1 2018

                                                                                            Cl-EHK. US D'S^RiCT COURl
CHARLES HAWKINS,            #1019653,
                                                                                                             v'A


                          Petitioner,

V   .                                                                  ACTION NO.        2:16cv720


HAROLD W.      CLARKE,
Director VDOC,

                         Respondent


                                            FINAL         ORDER


          Petitioner, a Virginia inmate,                        has submitted a petition for

a       writ of habeas corpus pursuant to 28 U.S.C.                               § 2254.        ECF No,

1.        Hawkins alleges violations of                         federal      rights pertaining to

his convictions on February 14,                            2013,       in the Circuit Court for

the City of Portsmouth for malicious wounding,                                    use of a       firearm,

and possession            of     a   firearm         by    a    felon.       As   a     result    of   the

convictions,         Hawkins         was    sentenced             to    serve     18    years     in   the

Virginia penal system with 3 years suspended.

          The matter was referred to a                         United States Magistrate Judge

pursuant      to    the provisions              of    28       U.S.C.    g   636 (b) (1) (B)     and   (C)

and Rule      72    of    the    Rules     of   the       United States District               Court   for


the Eastern District of Virginia for                               report and recommendation.

The        Report        and     Recommendation,                 filed       January       11,      2018,

recommends         that    Respondent's              Motion      to Dismiss        be    GRANTED,      and
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the petition for a writ of habeas corpus be DENIED and DISMISSED

with prejudice.             ECF No. 13.

        Each        party     was        advised          of        his     right      to     file     written

objections          to     the    findings            and       recommendations               made     by    the

Magistrate           Judge.      On       January             26,     2 018,     the        Court     received

Hawkins'       objections           to    the       Report          and     Recommendation.           ECF    No.

14.    Hawkins       objected to           the Report and Recommendation's                             finding

that his claims were procedurally defaulted and argues that the

fundamental           miscarriage              of     justice             exception         to      procedural

default should apply.                    Id.

        The    Court,        having        reviewed             the       record    and       examined       the

objections          filed     by Hawkins             to       the     Report     and Recommendation,

and having made             de novo            findings         with       respect      to    the portions

objected       to,       does    hereby         adopt          and        approve    the      findings       and

recommendations set forth in the Report and Recommendation.                                                   It

is,    therefore,          ORDERED that Respondent's Motion to Dismiss,                                      ECF

No.    5,   is GRANTED,          and the petition for a writ of habeas corpus,

ECF    No.     1,     is    DENIED        and       DISMISSED             WITH     PREJUDICE.           It    is

further ORDERED that judgment be entered in favor of Respondent.

        Hawkins has failed to demonstrate ''a substantial showing of

the denial of a             constitutional right,"                         and therefore,           the Court

declines       to    issue any certificate of                             appealability pursuant              to

Rule    22(b)       of     the   Federal            Rules       of    Appellate        Procedure.            See

                                                          2
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Miller-El v. Cockrell,           537 U.S. 322,    335-36     (2003).

      Hawkins   is    hereby      notified    that    he     may         appeal   from     the

judgment   entered        pursuant    to   this      Final    Order         by    filing     a

written notice       of   appeal    with   the Clerk of        this        Court,   United

States   Courthouse,       600    Granby   Street,    Norfolk,           Virginia   23510,

within thirty days from the date of entry of such judgment.

      The Clerk shall mail a           copy of this Final Order to Hawkins

and counsel of record for Respondent.
                                                                   Is!
                                                      Rebecca Beach Smith

                                           m-                ChiefJudge
                                             Rebecca Beach Smith
                                      CHIEF UNITED     STATES DISTRICT JUDGE




Norfolk, Virginia
February   , 2018
